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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS



ANTHONY CAIRNS,                                      )
                                                     )
                              Plaintiff,             )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        FILE No.
TOP HOME, L.L.C.,                                    )
                                                     )
                              Defendant.             )


                                           COMPLAINT

       COMES NOW, ANTHONY CAIRNS, by and through the undersigned counsel, and files

this, his Complaint against Defendant, TOP HOME, L.L.C., pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

TOP HOME, L.L.C., failure to remove physical barriers to access and violations of Title III of

the ADA.

                                             PARTIES

       2.      Plaintiff ANTHONY CAIRNS (hereinafter “Plaintiff”) is and has been at all

times relevant to the instant matter, a natural person residing in Dallas, Texas (Denton County).

       3.      Plaintiff is disabled as defined by the ADA.



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        4.     Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

        5.     Plaintiff uses a wheelchair for mobility purposes.

        6.     Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

        7.     Defendant, TOP HOME, L.L.C. (hereinafter “TOP HOME, L.L.C.”) is a Texas

limited liability partnership that transacts business in the State of Texas and within this judicial

district.

        8.     Defendant, TOP HOME, L.L.C., may be properly served with process via its

registered agent for service, to wit: c/o Andrew Chong, Registered Agent, 8810 Black Cherry

Crossing, Katy, TX 77494.

                                  FACTUAL ALLEGATIONS

        9.     On or about March 29, 2021, Plaintiff was a customer at “Big Lots,” a business

located at 1374 W. Main Street, Lewisville, TX 75067, referenced herein as “Big Lots”. See

Receipt attached as Exhibit 1. See also photo of Plaintiff attached as Exhibit 2.

        10.    Defendant, TOP HOME, L.L.C., is the owner or co-owner of the real property



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and improvements that Big Lots is situated upon and that is the subject of this action, referenced

herein as the “Property.”

       11.     Defendant, TOP HOME, L.L.C., as property owner, is responsible for complying

with the ADA for both the exterior portions and interior portions of the Property. Even if there is

a lease between Defendant, TOP HOME, L.L.C., and a tenant allocating responsibilities for

ADA compliance within the unit the tenant operates, that lease is only between the property

owner and the tenant and does not abrogate the Defendant’s requirement to comply with the

ADA for the entire Property it owns, including the interior portions of the Property which are

public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to Big Lots and other businesses at the Property, located at 1374

W. Main Street, Lewisville, TX          75067, Denton County Property Appraiser’s property

identification number 16972 (“the Property”), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or limited in the

future unless and until Defendant is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.     Plaintiff lives 15 miles from the Property.

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property are accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property are made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a



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return customer as well as for Advocacy Purposes, but does not intend to re-expose himself to

the ongoing barriers to access and engage in a futile gesture of visiting the public

accommodation known to Plaintiff to have numerous and continuing barriers to access.

       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered barriers to access at the Property, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Property.


                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and



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       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of


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$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       28.     Defendant, TOP HOME, L.L.C., has discriminated against Plaintiff (and others

with disabilities) by denying his access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       29.     Defendant, TOP HOME, L.L.C., will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendant, TOP HOME, L.L.C., is compelled to



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remove all physical barriers that exist at the Property, including those specifically set forth

herein, and make the Property accessible to and usable by Plaintiff and other persons with

disabilities.

        30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

        (i)     In front of Unit 1378, the access aisle to the accessible parking space is not level

                due to the presence of an accessible ramp in the access aisle in violation of

                Section 502.4 of the 2010 ADAAG standards. This violation would make it

                dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

                the Property.

        (ii)    In front of Unit 1378, the accessible curb ramp is improperly protruding into the

                access aisle of the accessible parking space in violation of Section 406.5 of the

                2010 ADAAG Standards. This violation would make it difficult and dangerous

                for Plaintiff to exit/enter their vehicle.

        (iii)   In front of Unit 1378, one accessible parking space is not level due to the presence

                of an accessible ramp in the accessible parking space in violation of Section 502.4

                of the 2010 ADAAG standards. This violation would make it dangerous and

                difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

        (iv)    In front of Unit 1378, the accessible curb ramp is improperly protruding into one

                accessible parking space in violation of Section 406.5 of the 2010 ADAAG



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          Standards. This violation would make it difficult and dangerous for Plaintiff to

          exit/enter their vehicle.

 (v)      In front of Unit 1378, the accessible ramp side flares have a slope in excess of

          1:10 in violation of Section 406.3 of the 2010 ADAAG standards. This violation

          would make it dangerous and difficult for Plaintiff to access the units of the

          Property.

 (vi)     In front of Unit 1378, the bottom edge of the sign identifying one or more

          accessible parking spaces is at a height below 60 inches from the floor in violation

          of Section 502.6 of the 2010 ADAAG standards. This violation would make it

          difficult for Plaintiff to locate an accessible parking space.

 (vii)    Across the vehicular way from Big Lots, there are two accessible parking spaces

          that are missing identification signs in violation of Section 502.6 of the 2010

          ADAAG standards. This violation would make it difficult for Plaintiff to locate an

          accessible parking space.

 (viii)   Across the vehicular way from Big Lots, due to roots intruding underneath the

          accessible parking spaces and access aisles, there are two accessible parking

          spaces and their associated access aisles with cracks in the surface causing

          vertical rises in excess of ¼ inch in height in violation of section 502.4 of the

          2010 ADAAG Standards.

 (ix)     Across the vehicular way from Big Lots, due to a policy of placing a shopping

          cart corral in the access aisle, the access aisle is does not have a clear or level

          surface in violation of Section 502.4 of the 2010 ADAAG Standards. This

          violation would make it difficult for Plaintiff to access the units of the Property.



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 (x)      Across the vehicular way from Big Lots, one of the accessible parking spaces has

          an access aisle with a clear width which is below 60 inches in violation of section

          502.3 of the 2010 ADAAG Standards. This violation would make it dangerous

          for Plaintiff to exit his van at this spot as the access aisle is not wide enough.

 (xi)     Across the vehicular way from Big Lots, the bottom edge of the signs identifying

          the two accessible parking spaces is at a height below 60 inches from the floor in

          violation of Section 502.6 of the 2010 ADAAG standards. This violation would

          make it difficult for Plaintiff to locate an accessible parking space.

 (xii)    Between Big Lots and Unit 1372, the walking surfaces of the accessible route

          have a slope in excess of 1:20 in violation of Section 403.3 of the 2010 ADAAG

          standards. As the accessible route is in excess of 1:20, it is considered an

          accessible ramp, moreover, it has a total rise greater than six (6) inches, yet does

          not have handrails in compliance with Section 505 of the 2010 ADAAG

          standards, this is a violation of Section 405.8 of the 2010 ADAAG Standards.

          This violation would make it difficult for Plaintiff to access the units of the

          Property.

 (xiii)   In front of Unit 1366, the access aisle to the accessible parking space is not level

          due to the presence of an accessible ramp in the access aisle, or in the alternative,

          the access aisle is not at the same level as the accessible parking space it serves in

          violation of Section 502.4 of the 2010 ADAAG standards. This violation would

          make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

          parked at the Property.




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  (xiv)   In front of Unit 1366, the accessible curb ramp is improperly protruding into the

          access aisle of the accessible parking space in violation of Section 406.5 of the

          2010 ADAAG Standards. This violation would make it difficult and dangerous

          for Plaintiff to exit/enter their vehicle.

  (xv)    In front of Unit 1366, the accessible ramp side flares have a slope in excess of

          1:10 in violation of Section 406.3 of the 2010 ADAAG standards. This violation

          would make it dangerous and difficult for Plaintiff to access the units of the

          Property.

  (xvi)   In front of Unit 1366, the bottom edge of the sign identifying one or more

          accessible parking spaces is at a height below 60 inches from the floor in violation

          of Section 502.6 of the 2010 ADAAG standards. This violation would make it

          difficult for Plaintiff to locate an accessible parking space.

  (xvii) In front of Big Lots, one access aisle has a vertical rise in excess of ¼ inch and is

          in violation of Sections 303.2 and 502.4 of the 2010 ADAAG standards. This

          violation would make it dangerous and difficult for Plaintiff to exit and enter their

          vehicle while parked at the Property.

  (xviii) The Property lacks an accessible route from the sidewalk to the accessible

          entrance in violation of Section 206.2.1 of the 2010 ADAAG standards. This

          violation would make it difficult for Plaintiff to access the units of the Property.

  (xix)   Adjacent to Unit 1330, the bottom edge of the signs identifying the two accessible

          parking spaces are at a height below 60 inches from the floor in violation of

          Section 502.6 of the 2010 ADAAG standards. This violation would make it

          difficult for Plaintiff to locate an accessible parking space.



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  (xx)    Between Unit 1344 and Unit 1348, the walking surfaces of the accessible route

          have a slope of 1:10 in violation of Section 403.3 of the 2010 ADAAG standards.

          This violation would make it dangerous and difficult for Plaintiff to access the

          units of the Property. As the accessible route is in excess of 1:20, it is considered

          an accessible ramp, moreover, it has a total rise greater than six (6) inches, yet

          does not have handrails in compliance with Section 505 of the 2010 ADAAG

          standards, this is a violation of Section 405.8 of the 2010 ADAAG Standards.

          This violation would make it difficult for Plaintiff to access the units of the

          Property.

  (xxi)   Between Unit 1348 and Unit 1354, the walking surfaces of the accessible route

          have a slope in excess of 1:12 in violation of Section 403.3 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access the units of the Property. As the accessible route is in excess of 1:20, it is

          considered an accessible ramp, moreover, it has a total rise greater than six (6)

          inches, yet does not have handrails in compliance with Section 505 of the 2010

          ADAAG standards, this is a violation of Section 405.8 of the 2010 ADAAG

          Standards. This violation would make it difficult for Plaintiff to access the units

          of the Property.

  (xxii) There is no accessible route from the public sidewalk to the accessible entrances

          in violation of section 206.2.1 of the 2010 ADAAG Standards. This violation

          would make it difficult for Plaintiff to utilize public transportation to access the

          units.




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       (xxiii) Defendant fails to adhere to a policy, practice and procedure to ensure that all

                 facilities are readily accessible to and usable by disabled individuals.

       31.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.       All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       35.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, TOP

HOME, L.L.C., has the financial resources to make the necessary modifications since all four

Properties are valued at $7,802,232.00 according to the Property Appraiser website.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property have been altered since



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2010.

        39.    In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

        40.    Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

TOP HOME, L.L.C., is required to remove the physical barriers, dangerous conditions and ADA

violations that exist at the Property, including those alleged herein.

        41.    Plaintiff’s requested relief serves the public interest.

        42.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, TOP HOME, L.L.C.

        43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, TOP HOME, L.L.C., pursuant to 42 U.S.C. §§ 12188 and 12205.

        44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, TOP

HOME, L.L.C., to modify the Property to the extent required by the ADA.

        WHEREFORE, Plaintiff prays as follows:

        (a)    That the Court find Defendant, TOP HOME, L.L.C., in violation of the ADA and

               ADAAG;

        (b)    That the Court issue a permanent injunction enjoining Defendant, TOP HOME,

               L.L.C., from continuing their discriminatory practices;

        (c)    That the Court issue an Order requiring Defendant, TOP HOME, L.L.C., to (i)

               remove the physical barriers to access and (ii) alter the subject Property to make it



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        readily accessible to and useable by individuals with disabilities to the extent

        required by the ADA;

  (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

        and costs; and

  (e)   That the Court grant such further relief as deemed just and equitable in light of the

        circumstances.

                                      Dated: May 7, 2021.

                                      Respectfully submitted,

                                      Law Offices of
                                      THE SCHAPIRO LAW GROUP, P.L.

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